Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 1 of 23 PageID 1974




                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
 __________________________________________
                                                )
 FEDERAL TRADE COMMISSION, and                  )
                                                )
 STATE OF FLORIDA, OFFICE OF THE                )
 ATTORNEY GENERAL, DEPARTMENT OF                )
 LEGAL AFFAIRS,                                 )
                                                )
                        Plaintiffs,             ) Civil No. 6:14-CV-8-ORL 28DAB
                                                )
                  v.                            )
                                                )
 WORLDWIDE INFO SERVICES, INC., a               )
 Florida corporation, also d/b/a THE CREDIT     )
 VOICE;                                         )
                                                )
 ELITE INFORMATION SOLUTIONS INC.,              )
 a Florida corporation, also d/b/a THE CREDIT   )
 VOICE;                                         )
                                                )
 ABSOLUTE SOLUTIONS GROUP INC.,                 )
 a Florida corporation, also d/b/a THE CREDIT   )
 VOICE;                                         )
                                                )
 GLOBAL INTERACTIVE TECHNOLOGIES,               )
 INC., a Florida corporation, also d/b/a THE    )
 CREDIT VOICE INC.;                             )
                                                )
 GLOBAL SERVICE PROVIDERS, INC., a              )
 Florida corporation;                           )
                                                )
 THE CREDIT VOICE, INC., a Florida              )
 corporation, also d/b/a TCV;                   )
                                                )
 LIVE AGENT RESPONSE 1 LLC, a Florida           )
 limited liability company, also d/b/a LAR;     )
                                                )
 ARCAGEN, INC., a Florida corporation, also     )
 d/b/a ARI;                                     )
                                                )
 AMERICAN INNOVATIVE CONCEPTS, INC., )
 a Florida corporation;                         )
                                                )
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 2 of 23 PageID 1975




 UNIQUE INFORMATION SERVICES INC., a                 )
 Florida corporation;                                )
                                                     )
 NATIONAL LIFE NETWORK INC., a Florida               )
 corporation;                                        )
                                                     )
 MICHAEL HILGAR, individually                        )
 and as an officer or manager of Worldwide Info      )
 Services, Inc., Elite Information Solutions Inc.,   )
 Absolute Solutions Group Inc., Global Interactive )
 Technologies, Inc., Global Service Providers, Inc., )
 The Credit Voice, Inc., Live Agent Response         )
 1 LLC, Arcagen, Inc., American Innovative           )
 Concepts, Inc., Unique Information Services, Inc., )
 and National Life Network Inc.;                     )
                                                     )
 GARY MARTIN, individually and as an officer or )
 manager of Global Interactive Technologies, Inc., )
 The Credit Voice, Live Agent Response 1 LLC,        )
 Arcagen, Inc., American Innovative Concepts,        )
 Inc., Unique Information Services, Inc., and        )
 National Life Network Inc.                          )
                                                     )
 JOSEPH SETTECASE, individually and as an            )
 officer or manager of Unique Information Services )
 Inc.; and                                           )
                                                     )
 YULUISA NIEVES, individually and as an officer )
 or manager of American Innovative Concepts, Inc. )
 and National Life Network Inc.;                     )
                                                     )
                         Defendants.                 )
 __________________________________________)

                      FIRST AMENDED COMPLAINT FOR
             PERMANENT INJUNCTION AND OTHER EQUITABLE RELIEF

        Plaintiffs, the Federal Trade Commission (“FTC”), and the State of Florida, Office of the

 Attorney General, Department of Legal Affairs (“State of Florida”), for their First Amended

 Complaint allege:

        1.     The FTC brings this action under Sections 13(b) and 19 of the Federal Trade

 Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b) and 57b, and the Telemarketing and

                                                2
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 3 of 23 PageID 1976




 Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. §§ 6101-6108, to

 obtain temporary, preliminary, and permanent injunctive relief, rescission or reformation of

 contracts, restitution, the refund of monies paid, disgorgement of ill-gotten monies, and other

 equitable relief for Defendants’ acts or practices in violation of Section 5(a) of the FTC Act, 15

 U.S.C. § 45(a), and in violation of the FTC’s Trade Regulation Rule entitled “Telemarketing

 Sales Rule” (“TSR”), 16 C.F.R. Part 310.

        2.      The State of Florida brings this action pursuant to the Telemarketing and

 Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. §§ 6101-6108 and

 the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Chapter 501, Part II, Florida

 Statutes (2012), to obtain temporary and permanent injunctions, consumer restitution, civil

 penalties and other equitable relief, and reimbursement of costs and attorneys’ fees for

 Defendants’ acts or practices in violation of the TSR and FDUTPA. The State of Florida has

 conducted an investigation, and the head of the enforcing authority, Attorney General Pamela Jo

 Bondi, has determined that an enforcement action serves the public interest as required by

 FDUPTA Section 501.207, Florida Statutes (2012).


                                 JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

 and 1345, and 15 U.S.C. §§ 45(a), 53(b), 57b, 6102(c), and 6105(b).

        4.      This Court has supplemental jurisdiction over the State of Florida’s claims

 pursuant to 28 U.S.C. § 1367.

        5.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1) and (2), (c)(1) and

 (2), and (d), and 15 U.S.C. § 53(b).




                                                  3
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 4 of 23 PageID 1977




                                            PLAINTIFFS

        6.      The FTC is an independent agency of the United States Government created by

 statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

 which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also

 enforces the Telemarketing Act, 15 U.S.C. §§ 6101-6108. Pursuant to the Telemarketing Act,

 the FTC promulgated and enforces the TSR, 16 C.F.R. Part 310, which prohibits deceptive and

 abusive telemarketing acts or practices.

        7.      The FTC is authorized to initiate federal district court proceedings, by its own

 attorneys, to enjoin violations of the FTC Act and the TSR and to secure such equitable relief as

 may be appropriate in each case, including rescission or reformation of contracts, restitution, the

 refund of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b),

 56(a)(2)(A), 56(a)(2)(B), 57b, 6102(c) and 6105(b).

        8.      The State of Florida is the enforcing authority under FDUTPA pursuant to Florida

 Statutes Section 501.203(3) and is authorized to pursue this action to enjoin violations of the

 TSR, and in each such case, to obtain damages, restitution, and other compensation on behalf of

 Florida residents. The State of Florida is authorized to pursue this action to enjoin violations of

 FDUTPA and to obtain legal, equitable or other appropriate relief including rescission or

 reformation of contracts, restitution, the appointment of a receiver, disgorgement of ill-gotten

 monies, or other relief as may be appropriate. §501.207, Fla. Stat.

                                            DEFENDANTS

        9.      Defendant Worldwide Info Services, Inc., also doing business as The Credit

 Voice, is a Florida corporation with its principal address at 478 E. Altamonte, #400, Altamonte




                                                  4
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 5 of 23 PageID 1978




 Springs, Florida. Worldwide Info Services, Inc. transacts or has transacted business in this

 district and throughout the United States.

           10.   Defendant Elite Information Solutions Inc., also doing business as The Credit

 Voice, is a Florida corporation with its principal address at 509 S. Chickasaw Trail, #393,

 Orlando, Florida. Elite Information Solutions Inc. transacts or has transacted business in this

 district and throughout the United States.

           11.   Defendant Absolute Solutions Group Inc., also doing business as The Credit

 Voice, is a Florida corporation with its principal address at 5703 Red Bug Lake Road, Winter

 Springs, Florida. Absolute Solutions Group Inc. transacts or has transacted business in this

 district and throughout the United States.

           12.   Defendant Global Interactive Technologies, Inc., also doing business as The

 Credit Voice Inc., is a Florida corporation with its principal address at 474 S. Northlake

 Boulevard, #1024, Altamonte Springs, Florida. Global Interactive Technologies, Inc. transacts

 or has transacted business in this district and throughout the United States.

           13.   Defendant Global Service Providers, Inc. is a Florida corporation with its

 principal address at 5415 Lake Howell Road, #142, Winter Park, Florida. Global Service

 Providers, Inc. transacts or has transacted business in this district and throughout the United

 States.

           14.   Defendant The Credit Voice, Inc., also doing business as TCV, is a Florida

 corporation with its principal address at 2673 Lakebreeze Lane N, Clearwater, Florida. The

 Credit Voice, Inc. transacts or has transacted business in this district and throughout the United

 States.




                                                  5
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 6 of 23 PageID 1979




           15.    Defendant Live Agent Response 1 LLC, also doing business as LAR, is a Florida

 limited liability company with its principal address at 1106 South Powerline Road, Pompano

 Beach, Florida. Live Agent Response 1 LLC transacts or has transacted business in this district

 and throughout the United States.

           16.    Defendant Arcagen, Inc., also doing business as ARI, is a Florida corporation

 with its principal address at 474 S. Northlake Boulevard, #1024, Altamonte Springs, Florida.

 Arcagen, Inc. transacts or has transacted business in this district and throughout the United

 States.

           17.    Defendant American Innovative Concepts, Inc. is a Florida corporation with its

 principal address at 127 W. Fairbanks Avenue, Winter Park, Florida. American Innovative

 Concepts, Inc. transacts or has transacted business in this district and throughout the United

 States.

           18.    Defendant Unique Information Services Inc. is a Florida corporation with its

 principal address at 1170 Tree Swallow Drive, #324, Winter Springs, Florida. Unique

 Information Services Inc. transacts or has transacted business in this district and throughout the

 United States.

           19.    Defendant National Life Network Inc. is a Florida corporation with its principal

 address at 7378 W. Atlantic Boulevard, Suite 315, Margate, Florida. National Life Network Inc.

 transacts or has transacted business in this district and throughout the United States.

           20.    Michael Hilgar is an owner, officer, director, member, or manager of Defendants

 Worldwide Info Services, Inc., Elite Information Solutions Inc., Absolute Solutions Group Inc.,

 Global Interactive Technologies, Inc., Global Service Providers, Inc., The Credit Voice, Inc.,

 Live Agent Response 1 LLC, Arcagen, Inc., American Innovative Concepts, Inc., Unique



                                                   6
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 7 of 23 PageID 1980




 Information Services Inc., and National Life Network Inc. (collectively, “Corporate

 Defendants”). At all times material to this First Amended Complaint, acting alone or in concert

 with others, he has formulated, directed, controlled, had the authority to control, or participated

 in the acts and practices set forth in this First Amended Complaint. Defendant Hilgar is

 responsible for organizing and creating several of the corporations, establishing and maintaining

 corporate bank accounts, applying for a telemarketing license on behalf of the enterprise, leasing

 one of the call centers used by Corporate Defendants’ representatives, and setting up and paying

 for telephone numbers used in the scheme. Defendant Hilgar resides in this district and, in

 connection with the matters alleged herein, transacts or has transacted business in this district

 and throughout the United States.

        21.       Gary Martin is an owner, officer, director, member, or manager of Defendants

 Global Interactive Technologies, Inc., The Credit Voice, Inc., Live Agent Response 1 LLC,

 Arcagen, Inc., American Innovative Concepts, Inc., Unique Information Services Inc., and

 National Life Network Inc. At times material to this First Amended Complaint, acting alone or

 in concert with others, he has formulated, directed, controlled, had the authority to control, or

 participated in the acts and practices set forth in this First Amended Complaint. Among other

 things, Defendant Martin organized and created two of the corporations, established and

 maintains at least one corporate bank account, applied for a telemarketing license on behalf of

 the enterprise, supervises its representatives, and leases one of the call centers used by Corporate

 Defendants’ representatives. Defendant Martin resides in this district and, in connection with the

 matters alleged herein, transacts or has transacted business in this district and throughout the

 United States.




                                                   7
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 8 of 23 PageID 1981




        22.     Joseph Settecase is an owner, officer, director, member, or manager of Defendant

 Unique Information Services Inc. At all times material to this First Amended Complaint, acting

 alone or in concert with others, he has formulated, directed, controlled, had the authority to

 control, or participated in the acts and practices of Unique Information Services, Inc. set forth in

 this First Amended Complaint. Among other things, Defendant Settecase incorporated Unique

 Information Services Inc. and through that entity, operates an autodialing system that delivers

 prerecorded voice messages through telephone calls to consumers throughout the United States.

 In many instances, Unique Information Services and Settecase have delivered the prerecorded

 voice messages used to initiate Defendants’ telemarketing calls. Defendant Settecase resides in

 this district and, in connection with the matters alleged herein, transacts or has transacted

 business in this district and throughout the United States.

        23.     Yuluisa Nieves is an owner, officer, director, member, or manager of Defendants

 American Innovative Concepts, Inc. and National Life Network Inc. At all times material to this

 First Amended Complaint, acting alone or in concert with others, she has formulated, directed,

 controlled, had the authority to control, or participated in the acts and practices of American

 Innovative Concepts, Inc. and National Life Network Inc. set forth in this First Amended

 Complaint. Among other things, Defendant Nieves organized and created two of the Corporate

 Defendants, established and maintains at least two corporate bank accounts, and entered into

 telemarketing contracts on behalf of the Corporate Defendants. Defendant Nieves resides in this

 district and, in connection with the matters alleged herein, transacts or has transacted business in

 this district and throughout the United States.

        24.     The Corporate Defendants have operated as a common enterprise while engaging

 in the deceptive acts and practices and other violations of law alleged below. The Corporate



                                                   8
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 9 of 23 PageID 1982




 Defendants have common ownership, operations, and control. The Corporate Defendants

 conduct business out of the same principal locations, share employees and managers, use the

 same scripts, operate under the same telemarketing licenses, and commingle funds. Because the

 Corporate Defendants have operated as a common enterprise, each of them is jointly and

 severally liable for the acts and practices of the Corporate Defendants alleged below.

 Defendants Hilgar, Martin, Settecase, and Nieves have formulated, directed, controlled, had the

 authority to control, or participated in the acts and practices of the Corporate Defendants that

 constitute the common enterprise.

                                           COMMERCE

        25.     At all times material to this First Amended Complaint, Defendants have

 maintained a substantial course of trade in or affecting commerce, as “commerce” is defined in

 Section 4 of the FTC Act, 15 U.S.C. § 44 and Florida Statutes Section 501.203(8).

                           DEFENDANTS’ BUSINESS PRACTICES

        26.     Since at least 2012, Defendants have telemarketed medical alert systems to

 consumers throughout the United States and Canada. In numerous instances, Defendants’

 telemarketing calls are initiated using a telemarketing service that delivers prerecorded voice

 messages through telephone calls. This service is known as “voice broadcasting” or

 “robocalling.” In many instances, Unique Information Solutions Inc. has operated the

 autodialing system that delivers the prerecorded voice messages that are used to initiate

 Defendants’ telemarketing calls.

        27.     Many of the consumers who receive these unsolicited calls are elderly, live alone,

 and have limited or fixed incomes. They often are in poor health, suffer from memory loss or




                                                  9
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 10 of 23 PageID 1983




 dementia, and rely on family members, friends, or health professionals to manage their finances

 and to make financial or health related decisions for them.

        28.     In numerous instances, the prerecorded messages purport to be from “John from

 the shipping department of Emergency Medical Alert,” and inform consumers that a medical

 alert system has been purchased for them. The recording indicates that consumers will receive

 the system at “no cost to you whatsoever,” and that the shipping costs have also already been

 paid. The message instructs consumers to press a number on their telephone to schedule

 delivery, and it also gives consumers the option to press a different number to decline shipment

 of the medical alert system.

        29.     In other instances, Defendants have used at least two other prerecorded messages,

 both of which indicate that the medical alert system is available to senior citizens for free. The

 first such message states that the American Heart Association and American Diabetes

 Association are urging senior citizens to obtain medical alert systems, and that these systems are

 available for free. The second message informs consumers that they qualify for $3000 in free

 grocery saving certificates as well as a free medical alert device. Both of these messages instruct

 consumers to press a number for more information, or to press a different number to be removed

 from Defendants’ calling list.

        30.     When consumers press the number to speak to a live operator, they are connected

 to Defendants’ representatives, who tell consumers that the medical alert system has a value of

 over $400, but that consumers will receive the system for free. Defendants’ representatives

 sometimes tell consumers that the system is free because a friend, family member or

 acquaintance referred the consumer to Defendants. In other instances, Defendants

 representatives tell consumers that the system is free because a friend, family member or



                                                  10
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 11 of 23 PageID 1984




 acquaintance purchased the medical alert system for the consumer. When asked, Defendants’

 representatives cite confidentiality concerns in refusing to provide the name of the person who

 referred the consumer to Defendants, or who purchased the medical alert system for the

 consumer.

        31.     Defendants’ representatives explain that the medical alert system consists of a

 necklace or bracelet that enables consumers to receive help during emergencies. Defendants’

 representatives tout that their medical alert system has been recommended by the American

 Heart Association, the American Diabetes Association, and the National Institute on Aging.

        32.     In fact, neither the American Heart Association, the American Diabetes

 Association, nor the National Institute on Aging endorse Defendants’ medical alert system or any

 other medical alert system.

        33.     Although the medical alert system was originally represented as being free, at the

 end of the call Defendants’ representatives inform consumers for the first time that there is a

 monthly monitoring fee of $34.95. To cover this monthly fee, consumers are required to provide

 their credit card or bank account information, but they are assured that the billing cycle does not

 start until consumers receive and activate the system.

        34.     If consumers tell Defendants’ representatives that they need time to think about

 whether to get the system, or that they want to speak with their family before agreeing to provide

 their payment information, Defendants’ representatives respond that consumers will only receive

 the system if they sign up that day.

        35.     In numerous instances, after providing Defendants with their credit card or bank

 account information, consumers discover that nobody they know referred them to Defendants or

 purchased a medical alert system for them. In addition, consumers usually are charged the first



                                                 11
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 12 of 23 PageID 1985




 monitoring fee within a day of receiving the telephone call, before they receive and activate the

 system.

        36.     Many consumers subsequently try to cancel their accounts, either because they

 realize that Defendants’ representatives lied to them or for other reasons. Consumers often have

 difficulty canceling, however. Some consumers have trouble reaching customer service

 representatives, while others reach representatives who either claim not to have the authority to

 issue cancellations or try to keep the consumers from cancelling by aggressively re-pitching the

 product or offering special deals.

        37.     While telemarketing their medical alert systems, Defendants, acting directly or

 through one or more intermediaries, have made numerous calls to telephone numbers on the

 National Do Not Call Registry (“Registry”), as well as to consumers who have previously asked

 Defendants not to call them again. In some instances, Defendants or their telemarketers also

 “spoof” their calls by transmitting phony Caller Identification information so that call recipients

 do not know the source of the calls.

        38.     In numerous instances, Defendants, acting directly or through one or more

 intermediaries, have initiated telemarketing calls that failed to disclose truthfully, promptly, and

 in a clear and conspicuous manner to the person receiving the call: the identity of the seller; that

 the purpose of the call is to sell goods or services; or the nature of the goods or services. In

 numerous instances, Defendants, acting directly or through one or more intermediaries, have

 initiated prerecorded telemarketing calls to consumers that failed to promptly make such

 disclosures, or to immediately thereafter disclose the mechanism for asserting a Do Not Call

 request.




                                                  12
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 13 of 23 PageID 1986




        39.     In numerous instances, Defendants, acting directly or through one or more

 intermediaries, made outbound prerecorded calls that delivered messages to induce the sale of

 goods or services when the persons to whom these telephone calls were made had not expressly

 agreed, in writing, to authorize the seller to place prerecorded calls to such persons.

                                VIOLATIONS OF THE FTC ACT

        40.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive

 acts or practices in or affecting commerce.”

        41.     Misrepresentations or deceptive omissions of material fact constitute deceptive

 acts or practices prohibited by Section 5(a) of the FTC Act. 15 U.S.C. § 45(a).

                                         COUNT ONE
                               Misrepresentation of Material Facts
                                       (By Plaintiff FTC)

        42.     In numerous instances, in connection with the advertising, marketing, promotion,

 offering for sale, or sale of medical alert systems, Defendants have represented, directly or

 indirectly, expressly or by implication, that:

                A.      Defendants’ medical alert system has already been purchased for the

        consumer by a friend, family member, or other acquaintance;

                B.      Defendants’ medical alert system is endorsed by the American Heart

        Association, the American Diabetes Association, and/or the National Institute on Aging;

        and

                C.      Consumers will not be charged the first monitoring fee until they have

        received and activated the medical alert system.

        43.     In truth and in fact, in numerous instances in which Defendants have made the

 representations set forth in Paragraph 42 of this First Amended Complaint,



                                                  13
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 14 of 23 PageID 1987




                A.       Defendants’ medical alert system had not already been purchased for the

        consumer by a friend, family member, or other acquaintance;

                B.       Defendants’ medical alert system was not endorsed by the American Heart

        Association, the American Diabetes Association, and/or the National Institute on Aging;

        and

                C.       Consumers were charged the first monitoring fee before they had received

        and activated the medical alert system.

        44.     Therefore, Defendants’ representations as set forth in Paragraph 42 of this First

 Amended Complaint are false and misleading and constitute deceptive acts or practices in

 violation of Section 5(a) of the FTC Act, 15 U.S.C.§ 45(a).

                            THE TELEMARKETING SALES RULE

        45.     Congress directed the FTC to prescribe rules prohibiting abusive and deceptive

 telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§ 6101-6108. The

 FTC adopted the original Telemarketing Sales Rule in 1995, extensively amended it in 2003, and

 amended certain provisions thereafter. 16 C.F.R. Part 310.

        46.     Defendants are “seller[s]” and/or “telemarketer[s]” engaged in “telemarketing,”

 and Defendants have initiated, or have caused telemarketers to initiate, “outbound telephone

 call[s]” to consumers to induce the purchase of goods or services, as those terms are defined in

 the TSR, 16 C.F.R. § 310.2(v), (aa), (cc), and (dd).

        47.     Under the TSR, an “outbound telephone call” means a telephone call initiated by

 a telemarketer to induce the purchase of goods or services or to solicit a charitable contribution.

 16 C.F.R. § 310.2(v).




                                                  14
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 15 of 23 PageID 1988




         48.    The TSR prohibits sellers and telemarketers from misrepresenting, directly or by

 implication, in the sale of goods or services, a seller’s or telemarketer’s affiliation with, or

 endorsement or sponsorship by, any person or government entity. 16 C.F.R. § 310.3(a)(2)(vii).

         49.    The TSR prohibits sellers and telemarketers from making a false or misleading

 statement to induce any person to pay for goods or services. 16 C.F.R. § 310.3(a)(4).

         50.    The TSR, as amended in 2003, established a "do-not-call" registry (the "National

 Do Not Call Registry" or "Registry"), maintained by the FTC, of consumers who do not wish to

 receive certain types of telemarketing calls. Consumers can register their telephone numbers on

 the Registry without charge either through a toll-free telephone call or over the Internet at

 www.donotcall.gov.

         51.    Consumers who receive telemarketing calls to their registered numbers can

 complain of Registry violations the same way they registered, through a toll-free telephone call

 or over the Internet at www.donotcall.gov, or by otherwise contacting law enforcement

 authorities.

         52.    The TSR prohibits sellers and telemarketers from initiating an outbound telephone

 call to telephone numbers on the Registry. 16 C.F.R. § 310.4(b)(1)(iii)(B).

         53.    The TSR prohibits sellers and telemarketers from initiating an outbound telephone

 call to any person when that person previously has stated that he or she does not wish to receive

 an outbound telephone call made by or on behalf of the seller whose goods or services are being

 offered. 16 C.F.R. § 310.4(b)(1)(iii)(A).

         54.    The TSR requires that sellers and telemarketers transmit or cause to be

 transmitted the telephone number and, when made available by the telemarketer’s carrier, the

 name of the telemarketer, to any caller identification service in use by a recipient of a



                                                   15
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 16 of 23 PageID 1989




 telemarketing call, or transmit the customer service number of the seller on whose behalf the call

 is made and, when made available by the telemarketer’s seller, the name of the seller. 16 C.F.R.

 § 310.4(a)(8).

        55.       The TSR requires telemarketers in an outbound telephone call to disclose

 truthfully, promptly, and in a clear and conspicuous manner, the following information:

                  A.     The identity of the seller;

                  B.     That the purpose of the call is to sell goods or services; and

                  C.     The nature of the goods or services.

 16 C.F.R. § 310.4(d).

        56.       As amended, effective December 1, 2008, the TSR prohibits a telemarketer from

 engaging, and a seller from causing a telemarketer to engage, in initiating an outbound telephone

 call that delivers a prerecorded message to induce the purchase of any good or service unless the

 message promptly discloses:

                  A.     The identity of the seller;

                  B.     That the purpose of the call is to sell goods or services; and

                  C.     The nature of the goods or services.

 16 C.F.R. § 310.4(b)(1)(v)(B)(ii).

        57.       As amended, effective September 1, 2009, the TSR prohibits initiating a

 telephone call that delivers a prerecorded message to induce the purchase of any good or service

 unless the seller has obtained from the recipient of the call an express agreement, in writing, that

 evidences the willingness of the recipient of the call to receive calls that deliver prerecorded

 messages by or on behalf of a specific seller. The express agreement must include the recipient’s

 telephone number and signature, must be obtained after a clear and conspicuous disclosure that



                                                   16
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 17 of 23 PageID 1990




 the purpose of the agreement is to authorize the seller to place prerecorded calls to such person,

 and must be obtained without requiring, directly or indirectly, that the agreement be executed as

 a condition of purchasing any good or service. 16 C.F.R. § 310.4(b)(1)(v)(A).

        58.     Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and

 Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes an

 unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a) of the

 FTC Act, 15 U.S.C. § 45(a).

                 VIOLATIONS OF THE TELEMARKETING SALES RULE

                                       COUNT TWO
              Misrepresentation of Medical Alert Systems in Violation of the TSR
                                    (By Both Plaintiffs)

        59.     In numerous instances, in connection with the telemarketing of goods and

 services, Defendants have misrepresented, directly or by implication, that:

                A.      Defendants’ medical alert system has already been purchased for the

        consumer by a friend, family member, or other acquaintance;

                B.      Defendants’ medical alert system is endorsed by the American Heart

        Association, the American Diabetes Association, and/or the National Institute on Aging;

        and

                C.      Consumers will not be charged the first monitoring fee until they have

        received and activated the medical alert system.

        60.     Defendants’ acts and practices adversely affect consumers in Florida. The State

 of Florida proceeds on behalf of Florida residents.

        61.     Defendants’ acts and practices, as described in Paragraph 59 above, are deceptive

 telemarketing acts or practices that violate the TSR, 16 C.F.R. §§ 310.3(a)(2)(vii) and (a)(4).



                                                 17
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 18 of 23 PageID 1991




                                          COUNT THREE
                          Violation of the National Do Not Call Registry
                                         (By Plaintiff FTC)

         62.     In numerous instances, in connection with telemarketing, Defendants have

 engaged, or caused a telemarketer to engage, in initiating an outbound telephone call to a

 person’s telephone number on the National Do Not Call Registry in violation of the TSR, 16

 C.F.R. § 310.4(b)(1)(iii)(B).

                                          COUNT FOUR
                              Failure to Honor Do Not Call Requests
                                         (By Plaintiff FTC)

         63.     In numerous instances, in connection with telemarketing, Defendants have

 engaged, or caused a telemarketer to engage, in initiating an outbound telephone call to a person

 who previously has stated that he or she does not wish to receive an outbound telephone call

 made by or on behalf of the seller whose goods or services are being offered, in violation of the

 TSR, 16 C.F.R. § 310.4(b)(1)(iii)(A).

                                           COUNT FIVE
                             Failure to Transmit Caller Identification
                                         (By Plaintiff FTC)

         64.     In numerous instances, in connection with telemarketing, Defendants have failed

 to transmit, or cause to be transmitted, the telephone number and name of the telemarketer or of

 the seller to any caller identification service in use by a recipient of a telemarketing call, in

 violation of the TSR, 16 C.F.R. § 310.4(a)(8).

                                        COUNT SIX
         Initiation of Unlawful Prerecorded Messages On or After September 1, 2009
                                      (By Plaintiff FTC)

         65.     In numerous instances on or after September 1, 2009, Defendants have made, or

 caused others to make, outbound telephone calls that delivered prerecorded messages to induce



                                                   18
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 19 of 23 PageID 1992




 the purchase of goods or services when the persons to whom these telephone calls were made

 had not signed an express agreement, in writing, authorizing the seller to place prerecorded calls

 to such person.

         66.    Defendants’ acts and practices, as described in Paragraph 65 above, are abusive

 telemarketing acts or practices that violate the TSR, 16 C.F.R. § 310.4(b)(1)(v)(A).

                                        COUNT SEVEN
                           Failure to Make Required Oral Disclosures
                                       (By Plaintiff FTC)

         67.    In numerous instances, including on or after December 1, 2008, in the course of

 telemarketing goods and services, Defendants have made, or caused others to make, outbound

 telephone calls that deliver a prerecorded message in which the telemarketer or message failed to

 disclose truthfully, promptly, and in a clear and conspicuous manner to the person receiving the

 call:

                A.      The identity of the seller;

                B.      That the purpose of the call is to sell goods or services; and

                C.      The nature of the goods or services.

         68.    Defendants’ acts and practices, as described in Paragraph 67 above, are abusive

 telemarketing acts or practices that violate the TSR, 16 C.F.R. §§ 310.4(b)(1)(v)(B)(ii) and (d).

                     VIOLATIONS OF THE FLORIDA DECEPTIVE AND
                           UNFAIR TRADE PRACTICES ACT

         69.    Section 501.204 of the Florida Deceptive and Unfair Trade Practices Act, Chapter

 501, Part II, Florida Statutes, prohibits “unfair or deceptive acts or practices in the conduct of

 any trade or commerce.”




                                                  19
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 20 of 23 PageID 1993




                                       COUNT EIGHT
                  Florida Deceptive and Unfair Trade Practices Act Violation
                                (By Plaintiff State of Florida)

        70.     In numerous instances, in connection with the advertising, marketing, promotion,

 offering for sale, or sale of medical alert systems, Defendants have represented, directly or

 indirectly, expressly or by implication, that:

                A.      Defendants’ medical alert system has already been purchased for the

        consumer by a friend, family member, or other acquaintance; and

                B.      Defendants’ medical alert system is endorsed by the American Heart

        Association, the American Diabetes Association, and/or the National Institute on Aging;

        and

                C.      Consumers will not be charged the first monitoring fee until they have

        received and activated the medical alert system.

        71.     In truth and in fact, in numerous instances in which Defendants have made the

 representations set forth in Paragraph 70 of this First Amended Complaint,

                A.      Defendants’ medical alert system had not already been purchased for the

        consumer by a friend, family member, or other acquaintance;

                B.      Defendants’ medical alert system was not endorsed by the American Heart

        Association, the American Diabetes Association, and/or the National Institute on Aging;

        and

                C.      Consumers were charged the first monitoring fee before they had received

        and activated the medical alert system.

        72.     Defendants’ representations as set forth in Paragraph 70 of this First Amended

 Complaint are false and misleading and likely to mislead consumers acting reasonably, and



                                                  20
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 21 of 23 PageID 1994




 consumers within the State of Florida and elsewhere were actually misled by Defendants’

 misrepresentations in violation of Section 501.204 of the FDUTPA.

                                       CONSUMER INJURY

        73.     Consumers have suffered and will continue to suffer substantial injury as a result

 of Defendants’ violations of the FTC Act, the TSR and the FDUPTA. In addition, Defendants

 have been unjustly enriched as a result of their unlawful acts or practices. Absent injunctive

 relief by this Court, Defendants are likely to continue to injure consumers, reap unjust

 enrichment, and harm the public interest.

                        THIS COURT’S POWER TO GRANT RELIEF

        74.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

 injunctive and such other relief as the Court may deem appropriate to halt and redress violations

 of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

 jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

 restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

 remedy any violation of any provision of law enforced by the FTC.

        75.     Section 19 of the FTC Act, 15 U.S.C. § 57b, and Section 6(b) of the

 Telemarketing Act, 15 U.S.C. § 6105(b), authorize this Court to grant such relief as the Court

 finds necessary to redress injury to consumers resulting from Defendants’ violations of the TSR,

 including the rescission or reformation of contracts, and the refund of money.

        76.     Section 4(a) of the Telemarketing Act, 15 U.S.C. § 6103(a), empowers this Court

 to grant the State of Florida injunctive and such other relief as the Court may deem appropriate

 to halt violations of the TSR and to redress injury to consumers, including the award of damages,

 restitution, or other compensation.



                                                 21
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 22 of 23 PageID 1995




        77.     Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction to allow

 Plaintiff State of Florida to enforce its state law claims against Defendants in this Court for

 violations of the FDUPTA, and to grant such relief as provided under state law, including

 injunctive relief, restitution, costs and attorneys’ fees, and such other relief to which the State of

 Florida may be entitled.

                                      PRAYER FOR RELIEF
        WHEREFORE, Plaintiff FTC, pursuant to Sections 13(b) and 19 of the FTC Act, 15

 U.S.C. § 53(b) and 57b, Section 6(b) of the Telemarketing Act, 15 U.S.C. § 6105(b); Plaintiff

 State of Florida, pursuant to Section 4(a) of the Telemarketing Act, 15 U.S.C. § 6103(a), and the

 Florida Deceptive and Unfair Trade Practices Act, Chapter 501, Part II; and pursuant to the

 Court’s supplemental jurisdiction, 28 U.S.C. § 1367, and the Court’s own equitable powers,

 request that the Court:

        A.      Award Plaintiffs such preliminary injunctive and ancillary relief as may be

 necessary to avert the likelihood of consumer injury during the pendency of this action and to

 preserve the possibility of effective final relief, including, but not limited to, temporary and

 preliminary injunctions, an order freezing assets, immediate access, and the appointment of a

 receiver;

        B.      Enter a permanent injunction to prevent future violations of the FTC Act, the

 TSR, and the FDUPTA by Defendants;

        C.      Award such relief as the Court finds necessary to redress injury to consumers

 resulting from Defendants’ violations of the FTC Act, the TSR, and the FDUPTA, including, but

 not limited to, rescission or reformation of contracts, restitution, the refund of monies paid, and

 the disgorgement of ill-gotten monies;

        D.      Award civil penalties in an amount up to $10,000 per transaction pursuant to

 Florida Statutes Section 501.2075 and up to $15,000 per transaction pursuant to Florida Statutes

 Section 501.2077 for the willful acts and practices of Defendants in violation of FDUTPA; and


                                                   22
Case 6:14-cv-00008-CEM-DAB Document 53 Filed 02/25/14 Page 23 of 23 PageID 1996
